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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
DAMIQUE FENNELL,                                         :

                                   Petitioner,          :

                          -against-                     :              ORDER

TIMOTHY MCCARTHY, Superintendent                        :         20-CV-3764 (GHW) (KNF)
of Auburn Correctional Facility,
                                                        :
                                    Respondent.
--------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE


        The petitioner, proceeding pro se, filed a petition under 28 U.S.C. § 2254 for writ of

habeas corpus. On December 10, 2020, the petitioner requested that the petition be held in

abeyance so he can exhaust his ineffective assistance of appellate counsel claim. The respondent

opposed the motion. On or before January 25, 2021, the petitioner shall serve and file his reply.

            The Clerk of Court is directed to mail a copy of this Order to the petitioner.

Dated: New York, New York
       January 11, 2021                                      SO ORDERED:
